             Case 1:19-cv-01582-TNM Document 1 Filed 05/29/19 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


HYUNGYOUNG HONG
106-706 (Daechidong)
Hanbo Mido Manison #150
Samsung-ro Gangnam-gu
Seoul, South Korea
                                            Case No.:

Plaintiff,
                                            COMPLAINT
      vs.
KEVIN MCALEENAN, Acting Secretary
of Homeland Security
Washington, DC 20528

L. FRANCIS CISSNA, Director of the
United States Citizenship and
Immigration Services
20 Massachusetts Avenue, N.W.
Washington, DC 20529

SARAH M KENDALL, Chief, USCIS
Immigrant Investor Program Office
 Washington DC 20529

              Defendants.
             Case 1:19-cv-01582-TNM Document 1 Filed 05/29/19 Page 2 of 6



1                                      COMPLAINT
2
                               DESCRIPTION OF ACTION
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4
           1. This complaint is brought by HyunYong Hong against the Defendants to
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     compel a decision on (I-526) application, which has been pending with the
6

7    defendants for over 31 months.
8
                                      JURISDICTION
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10
           2. This being a civil action against the United States arising under the
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12
     Mandamus Act, 28 U.S.C. § 1361, and the Administrative Procedure Act, 5 U.S.C.

13   § 701 et seq., both laws of the United States, original jurisdiction over this matter
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     is vested in this Court by 28 U.S.C. § 1331.
15

16                            DESCRIPTION OF PARTIES
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           3. The plaintiff, is a citizen and national of South Korea who is currently
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19   located at District of Columbia. Her “alien number” is None.

20
           4. The defendant, KEVIN MCALEENAN, is the Acting Secretary of
21

22   Homeland Security, and as such has the authority to adjudicate I-526 applications.

23   He resides for official purposes in the District of Columbia.
24

25
            5. The defendant, L. FRANCIS CISSNA, is the Director of the United

     States Citizenship and Immigration Services (USCIS), the agency within the
                                             -2–
              Case 1:19-cv-01582-TNM Document 1 Filed 05/29/19 Page 3 of 6



1    Department of Homeland Security which adjudicates I-526 applications. He
2
     resides for official purposes in the District of Columbia.
3

4          6. The defendant, OFFICER, is the Director of the USCIS’s Office where

5    Hyun Yong Hong’s application is currently pending and has immediate
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     responsibility for its adjudication. She resides for official purposes in the District
7
     of Columbia.
8

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                     BRIEF STATEMENT OF RELEVANT FACTS
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            7. On September 29, 2016, I-526 application was filed upon HyungYoung
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     Hong’s behalf with the United States Citizenship and Immigration Services, and
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15   was assigned File Number WAC169064977.

16         8. Legal Cousel has made inquiries about Ms. Hyun Young’s behalf on four
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     (4) separate occasions inquiring as to the status of her case and each time was met
18
     with a bland and uninformative response, when he received a response at all.
19

20   Processing time; 22 months to 28.5 months.

21         9. As of today, I-526 application remains under the jurisdiction of SARAH
22
     M. KENDALL and unadjudicated.
23

24

25

                                          COUNT I
                                              -3–
                Case 1:19-cv-01582-TNM Document 1 Filed 05/29/19 Page 4 of 6



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              10. Defendant KEVIN MCALEENAN, Secretary of Homeland Security,
3
     Defendant L. FRANCIS CISSNA, Director of the United States Citizenship and
4

5    Immigration Services, and Defendant SARAH M. KENDALL Chief, Director of

6    the United States Citizenship and Immigration Services’ Immigrant Investor
7
     Program Office, are each and all officers or employees of the United States and the
8
     Department of Homeland Security.
9

10            11. Defendant KEVIN MCALEENAN, Acting Secretary of Homeland
11
     Security, Defendant L. FRANCIS CISSNA, Director of the United States
12
     Citizenship and Immigration Services, and Defendant SARAH M. KENDALL,
13

14   Chief,     Director   of   the   United    States   Citizenship   and   Immigration
15
     Services’ Immigrant Investor Program Office, each and all owe a duty to the
16
     Plaintiff Hyun Young Hong to adjudicate her I-526 application within a reasonable
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18
     period of time. 5 U.S.C. § 555(b) ("With due regard for the convenience and

19   necessity of the parties or their representatives and within a reasonable time, each
20
     agency shall proceed to conclude a matter presented to it.").
21
              12. According to the USCIS’s own website, current processing times for
22

23   Forms I-485 at the OFFICE is 22 months to 28 months.

24            15. Further, 18 U.S.C. § 1571(b) provides that
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               Case 1:19-cv-01582-TNM Document 1 Filed 05/29/19 Page 5 of 6



1    : “It is the sense of Congress that the processing of an immigration benefit
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     application should be completed not later than 180 days after the initial filing of
3
     the application, except that a petition for a nonimmigrant visa under section 214(c)
4

5    of the Immigration and Nationality Act [8 USCS § 1184(c)] should be processed
6
     not later than 30 days after the filing of the petition.”
7

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9
             13. Accordingly, the over 31 months in which this application has been

10   pending with Defendant KEVIN MCALEENAN, Acting Secretary of Homeland
11
     Security, Defendant L. FRANCIS CISSNA, Director of the United States
12
     Citizenship and Immigration Services, and Defendant SARAH F. KENDALL,
13

14   Chief       Director   of   the    United    States   Citizenship   and   Immigration

15   Services’ Immigrant Investor Program Office, is well beyond that which these
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     officers or employees reasonably require to adjudicate it.
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18           14 This Court has authority under 28 U.S.C. § 1361 to compel an officer or

19   employee of the United States to perform a duty owed to the Plaintiffs.
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             15. This Court also has authority under 5 U.S.C. § 706(1) to compel agency

22   action unlawfully withheld or unreasonably delayed.
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             Case 1:19-cv-01582-TNM Document 1 Filed 05/29/19 Page 6 of 6



1                                      REQUESTED
2

3          WHEREFORE it is respectfully requested that the Court compel Defendants

4    KEVIN MCALEENAN, Acting Secretary of Homeland Security, L. FRANCIS
5
     CISSNA, Director of the United States Citizenship and Immigration Services, and
6
     SARAH M KENDALL, Chief Director of the United States Citizenship and
7

8    Immigration Services’ Office, to adjudicate HyunYong Hong’s I-526 application

9    forthwith, and to take such other action as it deems appropriate.
10

11   Respectfully submitted,

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     Dated: 05/29/2019
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15                                             Attorney for the Plaintiff
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